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                EXHIBIT B
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Ramesh Gidumal M.D.
Clinical Associate Professor
Department of Orthopedic Surgery


                                                         August 9, 2021

My compensation is $400.00/hour for chart review and discussions with the attorney.
My compensation for trial or deposition testimony is $6000 per ½ day. Patients must be cancelled one
week in advance and hence duration of my appearance for testimony and/or deposition must be arranged
and paid for one week in advance.

Prior testimony includes appearing on behalf of my patients or as an expert in the following cases in
Federal and state courts to the best of my recollection:

Shanoff as Admisistratrix of the estate of Zinaida Shershanov v.Bijan Golyan M.D., Joseph Golyan M.D.,
Raz Siniarsky M.D. et al. Index number 18999/04. Testimony given in Kings county.       January
30,2018

Hewitt, Donovan v. Amtrak. Testimony given in Federal Court Southern district. Judge Alice Nathan
February 15, 2018

Piao v. Wynne. Testimony given in Queens Court. Judge Modica. July 6, 2018

Tobin v. MTA. Testimony given in Federal Court Southern district. Judge P. Kevin Castel. July 24, 2018

Diarria v.NJS Carpentry. January 28, 2019. State Court, New York. Judge J. Kelly. NYS court in
Manhattan.

Ried Melvin v. Gismondi, Queens county Supreme court March 6, 2019

Briggs v State of New York. Court of Claims Judge Rodriquez-Morrick. March 26, 2019

Shabbaz v. Winiarski. Supreme Court. Kings County. Index No. 5127/2014. Testimony given November
22, 2019

Hernandez-Torbillo v. NYS. NY Court of Claims. Judge David Weinstein. Testimony given April 6,
2021.

Nicholas Magalios v. C.O. Matthew Peralta Southern District of NY. Judge Cathy Seibel April 29, 2021




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